          Case 3:17-cv-00939-WHA Document 2726-1 Filed 11/05/20 Page 1 of 2


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                                        UNITED STATES DISTRICT COURT
11                                    NORTHERN DISTRICT OF CALIFORNIA
                                           SAN FRANCISCO DIVISION
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     WAYMO LLC,                                                   Case No. 3:17-cv-00939-WHA
13
                                          Plaintiff,              [PROPOSED] ORDER APPROVING
14                                                                DEFENDANT’S MOTION TO MODIFY
                        v.                                        THE INTERIM MODEL PROTECTIVE
15                                                                ORDER
     UBER TECHNOLOGIES, INC.
16   OTTOMOTTO LLC, OTTO TRUCKING
     LLC
17
                                          Defendants
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19             Defendant Uber Technologies, Inc. (“Uber”) filed a Motion1 to modify paragraph 7 of the
20   Interim Model Protective Order in the above-captioned matter (the “Protective Order”) to allow the
21   parties to the bankruptcy proceeding entitled, Anthony Levandowski v Uber Technologies, Inc., N.D.
22   Cal. Bankr., Adv. Pro. No. 20-03050 (HLB) (the “Adversary Proceeding”) to (a) review the
23   Protected Materials for the purpose of evaluating whether they are relevant to the Adversary
24   Proceeding and (b) use (and produce in discovery) such materials for prosecuting, defending, and
25   attempting to settle the Adversary Proceeding, pursuant to a substantially identical Adversary
26   Proceeding Protective Order. Upon consideration of the Motion and good cause shown,
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28   1
         Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.

                  ORDER GRANTING MOTION TO MODIFY THE INTERIM MODEL PROTECTIVE ORDER
     DOCS_SF:104452.4 85647/001
        Case 3:17-cv-00939-WHA Document 2726-1 Filed 11/05/20 Page 2 of 2


 1            1.       Uber’s Motion is GRANTED.
 2            2.       Section 7 (including subsections 7.1 through 7.4) of the Protective Order entered in
 3   this case is modified to allow the parties to the Adversary Proceeding to (a) review the Protected
 4   Materials for the purpose of evaluating whether they are relevant to the Adversary Proceeding, and
 5   (b) use (and produce in discovery) such materials for prosecuting, defending, and attempting to settle
 6   the Adversary Proceeding, pursuant to the Adversary Proceeding Protective Order. All
 7   confidentiality designations made in this Litigation shall apply as though they had been made in the
 8   Adversary Proceeding, unless the Designating Party revises the designation or the designation is
 9   challenged pursuant to the terms of the Adversary Proceeding Protective Order.
10   IT IS SO ORDERED:
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12   Dated: December ___, 2020
                                                            HON. WILLIAM H. ALSUP
13                                                          United States District Court Judge
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                   ORDER GRANTING MOTION TO MODIFY THE INTERIM MODEL PROTECTIVE ORDER
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